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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

      
     

MARLA JOHNSON, )
)
)
)
e « )
Plaintiff, ) 1:15-cv-02982
‘. Judge Jorge L. Alonso
) Magistrate Judge Michael T. Mason
)
) JURY TRIAL DEMANDED
BOARD OF EDUCATION )
OF THE CITY OF CHICAGO, )
a body politic and corporate, )
FILED
Defendant. )

APR -3 2015

THOMAS G. BRUTON
CLERK, U.S. DISTRIC? “OURT

PLAINTIFF MARLA JOHNSON’S PRO SE COMPLAINT
SEA VEEN DS ERO SE COMPLAINT

 

NOW COMES Marla Johnson (“Ms. Johnson”), for herself as a pro se Plaintiff states as

 

follows as her Complaint: I have been discriminated against due to my race and sex in regard to
hiring, compensation, job training, work assignments, performance evaluations, terms,
conditions, and privileges of my employment. I have been subjected to employment decisions
based on assumptions about my abilities rather than my past experience, qualifications and
credentials. I have been segregated by physically isolating me from other employees. I have been
discriminated against due to my age with respect to condition, privilege of employment in hiring,
compensation, denial of benefits, job assignments, and training. I have been subjected to
unlawful employment discriminatory practices by agents of the Chicago Teachers Union 1
American Federation of Teachers AFL-CIO, due to my race and sex to adversely affect my status

as an employee and to deprive me of employment. I have continually reported incidents of being
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physically attacked, threatened with physical harm, and assaulted by staff and students of Penn
Elementary School. I have been subjected to intimidation, coercion, and retaliation because I
have complained and asserted my civil protected rights. My employer has consistently failed to
exercise reasonable care to prevent or correct any harassment, retaliation, or demonstrate any

concern for my health and safety.

PARTIES
1. Ms. Johnson is an IIlinois resident who resides in this District.

2. The Defendant is Ms. Johnson’s employer and resides in this District.

JURISDICTION AND VENUE

3. Jurisdiction in this Court is proper because Ms. Johnson’s claims arise under
Federal law.

TITLE VII of the CIVIL RIGHTS ACT of 1964 — P.L. 88-352

The Age Discrimination in Employment Act of 1967 (ADEA)

42 U.S. Code Chapter 21, Subchapter VI — Equal Employment — 2000e-3.

Unlawful employment practices

4, This Court has jurisdiction over the Defendant and this case is properly filed in
this Court because the acts that Ms. Johnson is complaining of in this lawsuit took place in this
District.

5. During the time periods relied upon by Ms. Johnson for this lawsuit, she

proficiently performed her job duties for the Defendant.
 

 

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6. Despite that, the Defendant discriminated against Ms. Johnson based upon her
race, age, and gender by doing and/or not doing the following:

From the period of October 2013 to October 2014 I was not allowed to attend any outside
training during school hours whereas my colleagues were continually granted this privilege.
“Professional development is a mandated requirement by the Illinois State Board of Education
for teacher license renewal. Professional development is also a requirement for educator’s
performance evaluations.” (Race, Sex and Age Discrimination)

7. Since my hire at Penn Elementary School on F ebruary 1, 2013 I have not been
allowed to serve on any leadership committees, even though I have made request. “Teachers and
staff serving on school leadership committees receive compensation and professional credit for
license renewal.” (Race, Sex, and Age Discrimination)

8. I have repeatedly received low performance evaluation scores in the area of
providing instruction to special education students as the School Librarian, even though I hold no
certifications in special education nor am I their special education classroom teacher. (Race, Sex,
and Age Discrimination)

9. My assigned schedule has been designed since 2013 to 2015 so I have never had
common planning time with any of the classroom teachers. “As the School Librarian I am
required in my job description and performance evaluation to collaborate with classroom
teachers.” “I have also never shared any common lunch times with any of the classroom
teachers.” (Race, Sex, and Age Discrimination)

10. I have not been provided with a “Teacher Librarian Companion Guide” provided
by BOARD to assist teachers in achieving their best performance rating during evaluations. “To
my knowledge as of the date of this filing a companion guide was never distributed for School
Librarians.” I have repeatedly inquired about the guide since I am evaluated using a different

framework than other teachers. “I have received several performance evaluations by the principal
 

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and assistant principal with them being aware I did not possess a companion guide as afforded to
other teachers.” (Race, Sex, And Age)

11. I was assigned Hall Duty, Lunch Duty, and Recess Duty from 2013 — 2014 in
addition to my duties as the School Librarian. “The assignment these duty assignments to me
were in violation of the Chicago Teachers Union Agreement.” “Other classroom teachers were
not assigned these duty assignments in addition to their classroom responsibilities.” (Race, Sex,
and Age Discrimination)

12. _ I was denied work opportunities (Staff Development, Consulting Teacher, and
Summer School) when I held the necessary and quite often more qualifications than the selected
individuals. “The hiring of selected teachers in 2014 to teach summer school for literacy violated
hiring policy according to the Chicago Teachers Union Agreement.” (Age Discrimination)

13. I was not paid the full monies for instructional supplies to teachers according to
the Chicago Teachers Union Agreement. (Race, Sex, and Age Discrimination)

14. Thave been continually required to perform janitorial duties after meetings in my
workspace. The janitorial duties included moving furniture and cleaning tables with disinfectant.
(Race, Age, and Sex Discrimination)

15. I was assigned duties of the classroom teachers (DIBLES testing and monitoring
and Intervention) in addition to hall, lunch and recess duty and my job responsibilities as the
School Librarian. “Classroom teachers are supposed to provide these services to their students.”
(Race, Sex, and Age Discrimination)

16. The assistant principal edited my library program “Rules” to violate the Chicago
Public Schools “Student Code of Conduct” and “Grading Policy”. She then distributed the .
“Rules” to students and parents giving them the impression I created the document. “She did not
edit the “Rules” for other teachers to violate policies of the Chicago Public Schools.” She also,

entered online false information on my performance evaluation document online to defame my
 

 

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professional integrity and affect my future hiring opportunities. (Race, Sex, and Age
Discrimination)

17. Compared to the gym and art male teachers I was assigned large classes (up to
forty students) twice a week with students having serious behavior problems. “Whereas the male
teachers were assigned smaller classes with students who regularly demonstrated few behavior
problems.” “The male teachers were also given more duty free time and assigned fewer lunch
and recess duty times.” (Sex and Age Discrimination)

18. [have not been supported by the Chicago Teachers Union, principal or assistant
principal, school security personnel, the Equal Opportunity Compliance Office,

Law Department, Office of Inspector General, and other individuals I have contacted
within the Chicago Public Schools seeking assistance and protection. It is my belief this
lack of support has served as a catalyst for student and staff acts of violence against me.
19. As a result of attacks of violence, harassment and retaliatory behavior I have filed

complaints with The Office of Civil Rights (Exhibit A) and the EEOC (Exhibit B). Asa result of
the acts of violence the Chicago Police Department has issued 3 Assault Reports. I have filed 3
Incident Reports, 2 grievances, 2 charges of harassment, and reported other acts of violence at
the school level and to individuals within the board. Yet, investigations done by the EOCO for
the BOARD have found no violations to support my claims. The first investigator for EOCO
determined no violations were found by the conduct of administration or staff at school that was
not my place of employment. The second investigation resulted again in “no violations”. I have
not returned to work since the last violent incident on February 6, 2015. I was denied assault
compensation in regard to the incident. A violation of the Chicago Teachers Agreement. I
applied for short-term disability and submitted medical certification from my doctor. I was
denied short-term disability based on the rationale by the claims management service my doctor

is not licensed to practice in his licensed area and I completed the doctor’s certification. It should

 

 
 

 

 

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be noted my doctor’s name was spelled incorrectly. It should also be noted I returned the
authorization unsigned due to I had to waive my protected rights by federal or state privacy laws
and regulations. (See Exhibit C) It also should be noted that if my claim denied for any reason
when the claim is approved I am not able to collect missed benefits. (See Exhibit D). I faxed the
authorization form to (Exhibit C) to BOARD in complain of this illegal practice. I have received
no response from anyone at the BOARD. Meanwhile I have been given the options by the
BOARD to obtain a leave, be declared AWOL if I don’t return to work, or resign. Currently it is
my understanding if a person resigns he or she could face possible loss of pension and teaching
licensure. I contacted Mr. Krieger at the BOARD to inform him I had submitted the “Attending
Physician Statement” to the claims service for short-term disability benefits. I inquired of him
also, why my serious safety concerns I have reported continually have been ignored and not
addressed to ensure my safety in my current workplace? I have received no response as of the
date of filing 4/3/2015.

20. By taking the actions described above in items 7 through 19, Defendant took
adverse employment actions against Ms. Johnson.

21. Ms. Johnson filed a Charge of Discrimination with the EEOC within the deadline
for filing.

22. | The EEOC issued Ms. Johnson a Notice of Right to Sue letter requiring her to file
this lawsuit on or before April 5, 2015.

23. Asa result of Defendant’s unlawful actions against Ms. Johnson suffered

monetary and emotional damages.

WHEREFORE, Ms. Johnson requests that the Court rule in her favor and against the

Defendant.

 

 
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Submitted by Marla Johnson

By:

 

Signed by Marla Johnson

Ms. Marla Johnson
707 W. Waveland
Apartment No. 1212
Chicago, IL 60613

 

 
 
      

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communications or by direct interview, whether

 

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following, Please check yes or no and initial:

HIV test results, HIV or AIDS

\ [| information.

Psychiatric information.
Information related to drug or alcohol
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AUTHORIZATION FOR RELEASE AND USE OF MEDICAL INFORMATION

RIGHTS
Case 1:15-cv-02982 Document #: 1 Filed: 04/03/15 Page 9 of 14 PagelD #:9

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On workers r vocational rehbiliaton Senses, Soa! Securly Adminisieation or’ soea W

pursuant to this authorization in any other claim Matter that Sedgwick administer
handle related to me. ~

. 3. How long this Authorization is Valid? This authorization is valid during the duration of
Hit pf » Claim(s) and any future related claims, unless a different period is required under apblicses

! federal or state law.
on rx

at . PO Box 14566; Lexington, KY 40512-4566. Fay- 859-264-4377 of my revocation and

accommodation THREAT
_
6. Refusal To Sign | further understand my health care will not condition my Y

the fact that an individual or an individual's family member Sought or received genetic Services, ,
and genetic information of a fetus Carried by an individual or an individual's family member or an
embryo lawfully held by an individual or family member receiving assistive reproductive

 

 

Services.” .
MARLA S. JOHNSON NA

Printed Name of Patient or Patient's Representative Representative’s Relationship to Patient, if applicable
sorsasoissi.con SEE COMMINTS 9-7-1495
ae A Last 4 Digits of Patient's SSN Patienf’s Date of Birth

 

 

N/A
ignature of Pati or Patient's Representative Date Signed
WILL ROVIDE S1/GNATUKE fe eh MI HORIZA TiOM kS
COMPLAINANT WITH HIPAA HiPecs ACT OF 2604, FMLA,

Page 2 of 2

OCR, HUMAN RIGHIS LAWS
CCA /REGU LA 7 0n15 CERDERAL
STATE

*cC18295 87%

 

 
 

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Acknowled lement of Start/Stop Benefits

I, DAVE, tol) , acknowledge that Short-term disability

 

Please indicate below the appropriate bank(s) for usage during days 31 — 90.

 

 

 

CPS Employees
Current CTU Xx Grandfathered Outside Agency

| acknowledge that this form must be signed and authorized in order for Sedgwick to
supplement sick days for income loss during STD.

important note: There will be no retroactive sick day usage if you fail to return this form.

ale Fpfrete/ 3-/9- 205

Signature Date
 

vt ; leq: ID #:11
EEOC Form 16 ¢ASE- 1:15-Cv-02933 ROAM Ebi oyMEN POP COL pa ES Comgiasic eee

 

DISMISSAL AND NOTICE OF RIGHTS

 

 

To: Marla Johnson ‘ From: Chicago District Office

707 West Waveland 500 West Madison St

Apt. 1212 Suite 2000

Chicago, IL 60613 Chicago, iL 60661

[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))_
EEOC Charge No. EEOC Representative Telephone No.
Charles E. Kolliker, :

440-2015-00453 Investigator (312) 869-8026

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act
The Respondent employs less than the required number of employees or is not otherwise Covered by the states.

Your charge was not timely filed with EEOC: in other words, you waited too iong after the Gates) of the alleged
discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Other (briefly state)

NO HOOD

- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

 

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

Dut hawt wmin 1/515

Enclosures(s) Julianne Bowman,
Acting District Director

 

Linda Hogan

Senior Assistant General Counsel

LAW DEPARTMENT

Board of Education of the City of Chicago
One North Dearborn, Suite 900

Chicago, IL 60602

 

 
 

 

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EEOC For § (44/08:

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency/ies. Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [ ] FEPA
Statement and other information before completing this form.
EEOC 440-2015-00453
lilinois Department Of Human Rights and EEOC
State or local Agency, if any
Name (indicate Mr., Ms., Mrs. ) Home Phone (Incl. Area Code) Date of B=
Ms. Marla Johnson (773) 484-7761 09-7-1958
Street Address

 

 

 

City, State and ZIP Code
707 West Waveland, Apt. 121 2, Chicago, IL

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committe

€, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

Name No. Employees, Members Phone No. (Include Area Code)
BOARD OF EDUCATION OF THE CITY.OF CHICAGO 500 or More (773) 534-1665
Street Address

 

 

City, State and ZIP Code
William Penn Elementary School, 1616 South Avers, Chicago, IL 60623

 

Name No. Employees, Members Phone No. (include Area Code)

 

 

 

Street Address City, State and ZIP Code

 

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE

Earliest Latest
RACE [| COLOR SEX [| RELIGION [ ] NATIONAL ORIGIN 6-18-2014
RETALIATION AGE [| DISABILITY [] GENETIC INFORMATION

OTHER (Specify) CONTINUING ACTION

THE PARTICULARS ARE (If additional Paper is needed, attach extra sheet(s)):

 

 

| began my employment with Respondent in or around 1995. My current position is School Librarian.
During my employment, | have been subjected to different terms and conditions of employment then
that of younger, male, non-Black employees, including, but not limited to work place violence, denial
of training and additional work duties. | have complained to the Respondent to no avail.

| believe that | have been discriminated against because of my race, Black, and in retaliation, in
violation of Title VII of the Civil Rights Act of 1964, as amended.

| believe that | have been discriminated against because of my age 56 (September 7, 1958) and in
retaliation, in violation of the Age Discrimination in Employment Act of 1967, as amended.

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
Cooperate fully with them in the processing of my charge in accordance with their
procedures.

 

 

| swear or affirm that | have read the above-charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.

SIGNATURE OF COMPLAINANT
Dec 05, 2014 Thin

Date Charging Party Signature

 

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month, day, year)

 

 

 

 

 

 

 

 

 
 

    

 
 

 

 

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UNITED STATES DEPARTMENT OF EDUCATION REGION V
OFFICE FOR CIVIL RIGHTS nage
IOWA
500 WEST MADISON ST., SUITE 1475 MINNESOTA
CHICAGO, IL 60661-4544 NORTH DAKOTA
WISCONSIN

October 14, 2014

Ms. Marla Johnson
707 Waveland
Apartment 212
Chicago, Illinois 60613
Re: OCR Docket # 05-14-1341

Dear Ms. Johnson:

 

The U.S. Department of Education (Department), Office for Civil Rights ‘OCR), has received
and evaluated the above-referenced complaint filed with OCR on September 15, 2014. agamnst
the Chicago Public Schools District #299 (District) alleging individual emplormenar
disctimination on the bases of face, sex, and age.

 

Specifically, you allege that the District discriminated against you, a teacher at the Penn Sci
(School) on the basis of your race (African American), sex (female), and age (over for tr Wf thar
it:

   

1) allowed you only 4 lunch periods per week; and
2) did not provide you with the same training opportunities as other employees.

In addition, you allege that:
3) working conditions at the School ate not safe.

OCR enforces Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 20004, and its implementing
regulation, 34 C.F.R. Part 100, which prohibit discrimination on the basis of race, color or
national origin by recipients of Federal financial assistance. OCR also enforces Title [X of the
Education Amendments of 1972, 20 U.S.C. § 1681, and its implementing regulation, 34 C.F.R.
Part 106, which prohibit discrimination on the basis of sex in any education programs or
activities operated by recipients of Federal financial assistance, and the Age Discriminadian Act
of 1975 (Age Act), 42 U.S.C. §§ 6102-6103, and its implementing regulation, 34 C.F.R. Part | 10,
which prohibit discrimination on the basis of age by recipients of Federal financial assistance.

 

Allegations 1 and 2

The District receives Federal financial assistance from the Department and is therefore generally
subject to the federal laws that OCR enforces. Government-wide regulations nevertheless
require us to refer your allegations of employment discrimination against the District to the
Equal Employment Opportunity Commission (EEOC) for further action, The EEOC may
have authority to investigate your allegations of employment discrimination based on race and
sex under Title VII of the Civil Rights Act of 1964, which prohibits discrimination in
employment on those bases. The EEOC also may have authority to investigate your allegation

The Department of Education’s mission is to promote student achievement and preparation for global competitiveness
by fostering educational excellence and ensuring equal access.

www.ed.gov

 

 
 

 

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OCR Docket #05-14-1341

of employment discrimination based on age under the Age Disctimination in Employment Act
of 1967. OCR does not have jurisdiction to investigation allegations of employment
discrimination based on age.

We are referring allegations 1 and 2 to the EEOC at the following address:

U.S. Equal Employment Opportunity Commission
Chicago District Office
500 West Madison Street, Suite 2000
Chicago, Illinois 60661
1-800-669-4000

The EEOC will consider your complaint to be received on the date that OCR received it, unless
the EEOC teceived an earlier complaint. In accordance with government-wide regulations, we
are notifying District that a complaint alleging employment discrimination on the basis of race
and sex has been filed and that it has been referred to the EEOC.

Allegation 3

Section 104 of OCR’s Case Processing Manual provides that OCR may close a complaint if it does
not have subject matter jurisdiction over the complaint. It also provides that, for OCR to
establish jurisdiction, the complaint must allege, or OCR must be able to infer from the facts
given, an allegation of: 1) discrimination based on trace, color, national origin, sex, disability or
age, 2) discrimination in violation of the Boy Scouts of America Equal Access Act of 2001, or 3)
retaliation for the purpose of interfering with any right or privilege secured by the civil rights
laws enforced by OCR, or as a result of making a complaint, testifying, or participating in any
manner in an OCR proceeding. 34 C.E.R. §§ 100.7(€), 104.61, 106.71, 108.9, 110.34; 28 C.F.R.
§ 35.134.

 

On September 24, 2014, in a conversation with an OCR staff member, rou did not assert that

the District created unsafe working conditions at the School for you because of your race, color,
national origin, sex, disability, or age. As you did not allege that District discriminated against
you on the basis of your race, color, national origin, sex, disability or age when it allowed
working conditions in the School to be unsafe, OCR does not have jurisdiction over this
allegation. Therefore, OCR is dismissing Allegation 3, effective the date of this letter.

This letter sets for the OCR’s determination in an individual OCR case. This letter is not a
formal statement of OCR policy and should not be relied upon, cited, or construed as such.
OCR’s formal policy statements are approved by a duly authorized OCR official and made
available to the public. You may file a private suit in federal court, whether or not OCR finds a
violation.

This concludes OCR’s consideration of this matter. If you have any questions, please contact
the EEOC at the number shown above or Mr. Mark Erickson at 312-730-1574 or by email at

Mark.Erickson@ed.gov.

 
